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                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION


                                                                             CASE NO.: 6:21-cv-01849
 MOMS FOR LIBERTY –
 BREVARD COUNTY, FL, et al.,

         Plaintiff(s),
 vs.

 BREVARD PUBLIC SCHOOLS, et al.,

        Defendant(s).
 ____________________________________/


                                 AMENDED NOTICE OF MEDIATION

         PLEASE TAKE NOTICE that the mediation in the above-captioned matter has been scheduled for:

         DATE:                    August 5, 2022
         TIME:                    1:00 p.m.
         PLACE:                   Upchurch Watson White & Max
                                  1060 Maitland Center Commons, Suite 440, Maitland, FL 32751

         MEDIATOR:                Frederick J. Lauten


 DATED this 3rd day of May 2022.


                                          /s/ Frederick J. Lauten
                                          Frederick J. Lauten
                                          Mediator #
                                          Upchurch Watson White & Max
                                          1060 Maitland Center Commons, Suite 440
                                          Maitland, FL 32751
                                          407-661-1123 phone 407-661-5743 facsimile



                                      CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on 05/03/2022, I electronically filed the foregoing document with the
 Clerk of the Court using the E-Portal filing system. I also certify that the foregoing document is being
 served this day on all counsel of record via transmission of Notice of Electronic Filing generated by the E-
 Portal.
